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                           UNITED STATES DISTRICT COURT
                                   District of Maine


                                                  )
 WALTER J. DYER, Personal Representative          )   Docket No.
 of the Estate of JENNIFER M. DYER,               )
                       Plaintiff                  )
                                                  )
 v.                                               )
                                                  )
 PENOBSCOT COUNTY, PENOBSCOT                      )
 COUNTY SHERIFF’S OFFICE,                         )
 PENOBSCOT COUNTY JAIL, NICHOLAS                  )
 MITTON, TROY MORTON, LOUIS ST.                   )
 PIERRE, JASON RAYMOND, and
 CHRISTOPHER WILSON,                              )
                      Defendants                  )
                                                  )


             ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS


       NOW COME Defendants, through counsel, and hereby answer and affirmatively defend

Plaintiff’s Complaint as follows:

                                    AFFIRMATIVE DEFENSES

       A. Plaintiff’s Complaint fails to state a cause of action upon which relief may be granted.

       B. These Defendants, in their individual capacities, are entitled to qualified immunity on

Plaintiff’s claims brought pursuant to 42 U.S.C. § 1983.

       C. Defendants, in their official capacities, are immune from any claims brought under the

Maine Tort Claims Act.

       D. Defendants, in their individual capacities, are entitled to immunity from any claims

brought under the Maine Tort Claims Act pursuant to the provisions of 14 M.R.S. § 8111.
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        E. Any damages sustained by Plaintiff were caused by the acts and/or omissions of an

individual and/or entity other than these Defendants.

        F. Plaintiff’s damages, if any, were directly and proximately caused by a legally sufficient

superseding/intervening cause.

        G. Plaintiff has failed to mitigate their damages as required by law.

        H. Plaintiff’s Complaint is barred because Jennifer Dyer was negligent in an amount

equal to or greater than any negligence of these Defendants, and Plaintiff’s damages must be

reduced by an amount commensurate with Jennifer Dyer’s own negligence.

        I. Plaintiff’s Complaint is barred for failure to comply with conditions precedent to the

maintenance of this lawsuit, including, without limitation, the notice requirements of 14 M.R.S. §

8107.

        J. The Penobscot County Sheriff’s Office and Penobscot County Jail are not entities that

can be sued.

                                            ANSWER

        1. Defendants are without sufficient knowledge or information so as to form a belief as

to the truth of the allegations contained in Paragraph 1 of Plaintiff’s Complaint and therefore deny

same.

        2. Defendants admit the allegations contained in Paragraph 2 of Plaintiff’s Complaint.

        3. Defendants are without sufficient knowledge or information so as to form a belief as

to the truth of the allegations contained in Paragraph 3 of Plaintiff’s Complaint and therefore deny

same.




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        4-5.    Defendants admit the allegations contained in these paragraphs of Plaintiff’s

Complaint.

        6.      Defendants admit that Defendant Mitton was employed as a corrections officer at

the Penobscot County Jail. Defendants are without sufficient knowledge or information so as to

form a belief as to the truth of the remaining allegations contained in Paragraph 6 of Plaintiff’s

Complaint and therefore deny same.

        7.     Defendants admit that Defendant Morton is the Penobscot County Sheriff.

Defendants are without sufficient knowledge or information so as to form a belief as to the truth

of the remaining allegations contained in Paragraph 7 of Plaintiff’s Complaint and therefore deny

same.

        8.      Defendants admit that Defendant Raymond was employed as a corrections officer

at the Penobscot County Jail. Defendants are without sufficient knowledge or information so as

to form a belief as to the truth of the remaining allegations contained in Paragraph 8 of Plaintiff’s

Complaint and therefore deny same.

        9.      Defendants admit that Defendant St. Pierre was employed as a corrections officer

at the Penobscot County Jail. Defendants are without sufficient knowledge or information so as

to form a belief as to the truth of the remaining allegations contained in Paragraph 9 of Plaintiff’s

Complaint and therefore deny same.

        10. Defendants admit that Defendant Wilson was employed as a corrections officer at the

Penobscot County Jail. Defendants are without sufficient knowledge or information so as to form

a belief as to the truth of the remaining allegations contained in Paragraph 10 of Plaintiff’s

Complaint and therefore deny same.


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       11. Defendants are without sufficient knowledge or information so as to form a belief as

to the truth of the allegations contained in Paragraph 11 of Plaintiff’s Complaint and therefore

deny same.

       12.   Defendants admit the first sentence of this paragraph.        Defendants are without

sufficient knowledge or information so as to form a belief as to the truth of the remaining

allegations contained in this paragraph and therefore deny same.

       13-14. Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in these paragraphs of Plaintiff’s Complaint and

therefore deny same.

       15. Defendants deny the allegations as they relate to correctional staff at the Penobscot

County Jail. Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the remaining allegations contained in this paragraph of Plaintiff’s Complaint and

therefore deny same.

       16. Defendants admit the allegations contained in Paragraph 16 of Plaintiff’s Complaint.

       17. Defendants are without sufficient knowledge or information so as to form a belief as

to the truth of the allegations contained in Paragraph 17 of Plaintiff’s Complaint and therefore

deny same.

       18-19. Defendants admit the allegations contained in these paragraphs of Plaintiff’s

Complaint.

       20.   Defendants admit that at or about 4:28 a.m. on June 3, 2018, Jennifer Dyer

communicated with Defendant St. Pierre, stating that she wanted to see a nurse again. Defendants

are without sufficient knowledge or information so as to form a belief as to the truth of the


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remaining allegations contained in this paragraph of Plaintiff’s Complaint and therefore deny

same.

        21-22. Defendants admit the allegations contained in these paragraphs of Plaintiff’s

Complaint.

        23-24.   Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

        25. Defendants admit that at or about 4:44 a.m. on June 3, 2018, Jennifer Dyer was found

facedown on the floor in her jail cell. Defendants are without sufficient knowledge or information

so as to form a belief as to the truth of the remaining allegations contained in this paragraph of

Plaintiff’s Complaint and therefore deny same.

        26-27. Defendants admit the allegations contained in these paragraphs of Plaintiff’s

Complaint.

        28-31.   Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                            FIRST CAUSE OF ACTION
                                     Negligence
     (Penobscot County, PCSO, PCJ, Defendants Mitton, St. Pierre, Raymond, Wilson)

        32. Defendants repeat and reassert their responses to Paragraphs 1 through and including

31 of Plaintiff’s Complaint as if fully set forth herein.

        33. Defendants are without sufficient knowledge or information so as to form a belief as

to the truth of the allegations contained in this paragraph of Plaintiff’s Complaint and therefore

deny same.




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       34-36.    Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                               SECOND CAUSE OF ACTION
                                    Negligent Supervision
                      (Penobscot County, PCSO, PCJ, Defendant Morton)

       37. Defendants repeat and reassert their responses to Paragraphs 1 through and including

36 of Plaintiff’s Complaint as if fully set forth herein.

       38-39. Defendants are without sufficient knowledge or information so as to form a belief

as to the truth of the allegations contained in this these paragraphs of Plaintiff’s Complaint and

therefore deny same.

       40-44.    Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                                THIRD CAUSE OF ACTION
                                Violation of 42 U.S.C. § 1983
                       (Defendants Mitton, St. Pierre, Raymond, Wilson)

       45. Defendants repeat and reassert their responses to Paragraphs 1 through and including

44 of Plaintiff’s Complaint as if fully set forth herein.

       46-48.    Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                               FOURTH CAUSE OF ACTION
                                 Violation of 5 M.R.S. § 4682
                       (Defendants Mitton, St. Pierre, Raymond, Wilson)

       49. Defendants repeat and reassert their responses to Paragraphs 1 through and including

48 of Plaintiff’s Complaint as if fully set forth herein.




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       50-52.    Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                                 FIFTH CAUSE OF ACTION
                                      42 U.S.C. § 1983
                      (Penobscot County, PCSO, PCJ, Defendant Morton)

       53. Defendants repeat and reassert their responses to Paragraphs 1 through and including

52 of Plaintiff’s Complaint as if fully set forth herein.

       54-56.    Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                                 SIXTH CAUSE OF ACTION
                                       5 M.R.S. § 4682
                      (Penobscot County, PCSO, PCJ, Defendant Morton)

       57. Defendants repeat and reassert their responses to Paragraphs 1 through and including

56 of Plaintiff’s Complaint as if fully set forth herein.

       58-60.    Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.

                              SEVENTH CAUSE OF ACTION
                                       5 M.R.S. § 4682
                       (Defendants Mitton, St. Pierre, Raymond, Wilson)

       61. Defendants repeat and reassert their responses to Paragraphs 1 through and including

59 of Plaintiff’s Complaint as if fully set forth herein.

       62. No response is required of these Defendants to the statement contained in Paragraph

62 of Plaintiff’s Complaint.

       63-65.    Defendants deny the allegations contained in these paragraphs of Plaintiff’s

Complaint.


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       WHEREFORE, Defendants pray for judgment in their favor on all counts of Plaintiff’s

Complaint, plus interest and costs.


Dated: June 23, 2020                              /s/ Peter T. Marchesi
                                                Peter T. Marchesi, Esq.


                                                  /s/ Cassandra S. Shaffer
                                                Cassandra S. Shaffer, Esq.
                                                Wheeler & Arey, P.A.
                                                Attorneys for Defendants
                                                27 Temple Street
                                                Waterville, ME 04901




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 MITTON, TROY MORTON, LOUIS ST.                     )
 PIERRE, JASON RAYMOND, and
 CHRISTOPHER WILSON,                                )
                      Defendants                    )
                                                    )

                                CERTIFICATE OF SERVICE

       I, Peter T. Marchesi, Esq., attorney for Defendants, hereby certify that:

       ●      Answer and Affirmative Defenses of Defendants

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

              Jodi L. Nofsinger Esq.         NofsingerService@bermansimmons.com
              Adam J. Arguelles, Esq.        ArguellesService@bermansimmons.com


Dated: June 23, 2020                                      /s/ Peter T. Marchesi
                                                        Peter T. Marchesi, Esq.
                                                        Wheeler & Arey, P.A.
                                                        Attorneys for Defendants
                                                        27 Temple Street
                                                        Waterville, ME 04901




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